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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  --------------------------------------------------------------------------X
  OSCAR APARICIO ,
                                                                                       Case No. 24-CV-05293(JRC)
                                                          Plaintiff,
               -v.-
                                                                                             SATISFACTION
                                                                                             OF JUDGMENT
  55 WOODSIDE CORP .,

                                                         Defendants .
  -------------------------------------------------------- --- X




                      WHEREAS, a judgment was entered in the above action on the I 0 th day of January,

  2025, in favor of Oscar Aparicio against 55 Woodside Corp. , in the amount of $33,000.00

  inclusive of all attorney's fees, interest, costs and expenses, and said judgment with interest and

  costs thereon having been fully paid, and it is certified that there are no outstanding executions

  with any Sheriff or Marshall,

                      THEREFORE, full and complete satisfaction of said judgment is hereby

  acknowledged, and the Clerk of the Court is hereby authorized and directed to make an entry of

  the full and complete satisfaction on the docket of said judgment.



  Dated: January 31      , 2025
         Queens Village, New York                                                              I


                                                                                   ,     I   .)4, I t, " •,, ) t-1 ,
                                                                                Abdul K. Hassan, Esq.
                                                                                Abdul Hassan Law Group, PLLC
                                                                                15-28 Hillside Avenue
                                                                                Queens Village, New York 11427
                                                                                (718) 740-1000
                                                                                Attorney for Plaintiff
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  STATE OF NEW YORK )
                     ) ss.:
  COUNTY OF QUEENS )

                               g-
                 On the 1) \        day of January 2025 before me personally came Abdul K. Hassan

  to me known and known to be the attorney for Plaintiff in the above-entitled action, and to be the

  same person described in and who executed the within satisfaction of judgment and acknowledged

  to me that he executed the same.




                                                                           ,NISA K. KHAN
                                                                  ..   . PUBLIC STATE OF NEW YORK
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                                                              kegistrat1on No. 01
                                                            I Qualified in Queens county
                                                                        cvp1res November 15, 2027
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